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                                                                                                EXHIBIT 4
                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

     IN RE:                                                    §        CASE NO. 25-30155
                                                               §
     ALLIANCE FARM AND RANCH, LLC,                             §        (CHAPTER 11)
                                                               §
             DEBTOR                                            §
                                                               §
     IN RE:                                                    §        CASE NO. 25-31937
                                                               §
     ALLIANCE ENERGY PARTNERS, LLC,                            §        (CHAPTER 11)
                                                               §
             DEBTOR                                            §
                                                               §


ORDER (I) SETTING THE GENERAL CLAIMS BAR DATE FOR FILING PROOFS OF
 CLAIM, (II) APPROVING THE FORM AND MANNER OF NOTICE OF BAR DATE
                  AND (III) GRANTING RELATED RELIEF


           Upon the motion (the “Motion”) 1 of the Trustee for entry of an order (this “Order”) (a)

establishing a deadline for filing general proofs of claim in these Chapter 11 Cases; and (b)

approving the form and manner of notice of the deadline for filing general proofs of claim, all as

more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. § 1334; and this Court having found that this is a core proceeding within the meaning

of 28 U.S.C. § 157(b); and that this Court may enter a final order consistent with Article II of the

United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estate, its

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court, if any; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is hereby ORDERED that:

        1.       Each entity 2 that asserts a claim (whether secured, unsecured, priority, or

nonpriority) against either of the Debtors that arose or is deemed to have arisen before the Petition

Date, must file an original, written proof of claim (a “Proof of Claim”), substantially in the form

of Official Form 410. Except in the cases of governmental units and certain other exceptions

explicitly set forth herein, a Proof of Claim must be filed so that it is filed on or before July 25,

2025, (the “General Claims Bar Date”), in accordance with the instructions set forth in the Notice

of Bar Date Order. The General Claims Bar Date applies to all types of claims against the Debtors

that arose or are deemed to have arisen before the Petition Date, except for claims specifically

exempt from complying with the General Claims Bar Date.

        2.       The form of the Notice of the General Claims Bar Date as proposed in the Motion,

substantially in the form attached hereto as Exhibit 1, shall be deemed good and sufficient notice

of the Notice of the General Claims Bar Date and no further notice be given. The Trustee shall

mail a copy of the Notice of General Claims Bar Date to the parties set forth in the Motion within

three (3) business days of the entry of this Order or as soon as reasonably practicable. The notice




2
  Except as otherwise defined herein and in the Motion, all terms used but not defined herein that are specifically
defined in the Bankruptcy Code, including “entity,” “claim,” and “governmental unit,” shall have the meanings
ascribed to such terms in section 101 of the Bankruptcy Code.
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procedures set forth in this paragraph constitute good and sufficient notice of the General Claims

Bar Date.

       3.      Notwithstanding anything herein, the deadline for governmental units to file their

proofs of claim is November 3, 2025.

       4.      Nothing contained in the Motion or this Order shall be deemed or construed as an

admission to the validity or priority of any claim or lien against the Debtors or any other party or

as a waiver of such parties’ rights to dispute any claim or lien.

       5.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall take effect

immediately upon its entry.

       6.      All time periods set forth in this Order shall be deemed to meet the statutory

requirements or are hereby altered in accordance with Bankruptcy Rule 9006(a).

       7.      The Trustee is authorized to take all reasonable actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

       8.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated: _________________, 2025
Houston, Texas
                                               _____________________________________
                                               ALFREDO R. PEREZ
                                               UNITED STATES BANKRUPTCY JUDGE
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                                                                                 EXHIBIT 1

                    IN THE UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

  IN RE:                                           §      CASE NO. 25-30155
                                                   §
  ALLIANCE FARM AND RANCH, LLC,                    §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §
  IN RE:                                           §      CASE NO. 25-31937
                                                   §
  ALLIANCE ENERGY PARTNERS, LLC,                   §      (CHAPTER 11)
                                                   §
         DEBTOR                                    §
                                                   §


                            NOTICE OF GENERAL BAR DATE
To Whom it May Concern:
       On January 7, 2025 (the “AFR Petition Date”), the Alliance Farm and Ranch, LLC (the
“AFR Debtor”) commenced its bankruptcy case (the “AFR Case”) under chapter 7 of title 11 of
the Bankruptcy Code. On March 17, 2025, the AFR Debtor filed its Emergency Motion to Convert
Case to Chapter 11 (the “Chapter 11 Conversion Motion”). [DE 13]. On March 19, 2025, the
Court entered its order granting the Chapter 11 Conversion Motion. [DE 24].
      On April 7, 2025 (the “AEP Petition Date”), the Alliance Energy Partners, LLC (the “AEP
Debtor” and together with the AFR Debtor, the “Debtors”) commenced its bankruptcy case (the
“AEP Case” and together with the AFR Case, the “Chapter 11 Cases”).
        On May 7, 2025, the United States Trustee filed its Notice of Chapter 11 Bankruptcy Case
(the “Notice of Bankruptcy Case”) [DE 73]. The Notice of Bankruptcy Case set the meeting of
creditors (the “341 Meeting”) for June 2, 2025, at 2:00 p.m. The 341 Meeting was subsequently
rescheduled for June 16, 2025, at 1:00 p.m. The Notice of Bankruptcy Case established the
deadline for a governmental unit to file a proof of claim as November 3, 2025. The Notice of
Bankruptcy Case did not establish a deadline for filing general proofs of claim.
        On May 22, 2025, the Committee filed its Emergency Motion for Appointment of Chapter
11 Trustee (the “Trustee Motion”) [DE 98]. On May 23, 2025, the Court entered its order granting
the Trustee Motion [DE 112]. On May 27, 20025, the United States Trustee filed its Emergency
Motion to Approve Appointment of Tom A. Howley as Chapter 11 Trustee [DE 115] On May 27,
2025, the Court entered its Order Approving Appointment of Tom A. Howley as Chapter 11 Trustee
(the “Trustee Appointment Order”) [DE 117]. Pursuant to the Trustee Appointment Order, Tom,



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A. Howley is the chapter 11 trustee (the “Trustee”) in the above-numbered and styled Chapter 11
Cases.
        All documents filed in the case may be inspected at the bankruptcy clerk’s office at the
addressed listed below or through PACER (Public Access to Court Electronic Records at
https://pacer.uscourts.gov.
                                    General Claims Bar Date
        On June __, 2025, the Court entered an order (“Order”) setting the proof of claim bar date
for non-government claims on July 25, 2025.(“Claims Bar Date”). A proof of claim is a signed
statement describing a creditor’s claim. A proof of claim form may be obtained at
https://pacer.uscourts.gov, or any bankruptcy clerk’s office. Your claim will be allowed in the
amount scheduled unless: (i) your claim is designated as disputed, contingent, or unliquidated; (ii)
you file a proof of claim in a different amount; or (iii) you receive another notice.
       If your claim is not scheduled or your claim is designated as disputed, contingent, or
unliquidated, you must file a proof of claim or you might not be paid on your claim and you might
be unable to vote on the Plan.
       You may file a proof of claim even if your claim is scheduled. You may review the
schedules at the bankruptcy clerk’s office, online at https://pacer.uscourts.gov.
       Secured creditors retain rights in their collateral regardless of whether they file a proof of
claim. Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with
consequences a lawyer can explain. For example, a secured creditor who files a proof of claim
may surrender important nonmonetary rights, including the right to a jury trial.
        For Governmental Units Only – The deadline for governmental units to file their proofs of
claim is November 3, 2025.

Instructions for Filing Proofs of Claim and Consequences for Failure to Timely File Claim.
Any proof of claim filed after the Claims Bar Date will be disallowed. Any person or entity that is
required by the Order to file a proof of claim and fails to do so by the Claims Bar Date shall not
be treated as a creditor for purposes of voting or receiving distributions in the case, and any claim
of such person or entity will be discharged and forever barred unless otherwise provided under
applicable law. Each creditor and recipient of this Notice and their respective agents and attorneys
have an affirmative duty to review this notice, and timely file any proof of claim on or before the
Claims Bar Date or be forever barred from filing or asserting any such claim unless otherwise
provided by applicable law. Each creditor and recipient of this notice is personally responsible for
reviewing this notice and timely filing any proof of claim and should not rely upon their respective
agents and attorneys to meet the deadlines specified in this notice.

PROOFS OF CLAIM MUST BE FILED SO THAT THEY ARE ACTUALLY RECEIVED
BY THE COURT ON OR BEFORE THE CLAIMS BAR DATE, JULY 25, 2025. PROOFS
OF CLAIM MAY BE FILED BY MAIL, IN PERSON, BY PERSONAL SERVICE OR
FEDERAL EXPRESS ADDRESSED TO:


                                                 2
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                                  Clerk, U.S. Bankruptcy Court
                                          PO BOX 61010
                                       Houston, Texas 77208
        You are encouraged to use the enclosed form of proof of claim. Pursuant to Bankruptcy
Code § 502(b), amounts due shall be stated in lawful currency of the United States as of the Petition
Date. Do not file your proof of claim with, or send copies of proofs of claim to, the Debtor. Pursuant
to the Order, proofs of claim not filed with (i.e., actually received by) the Clerk of the Bankruptcy
Court by the applicable deadline shall be deemed not to be properly or timely filed. To receive an
acknowledgment that your proof of claim has been received by the Clerk of the Bankruptcy Court
and filed, you must provide with your original proof of claim one additional copy and a postage-
paid, self-addressed envelope.
Dated: June [xx], 2025                         Respectfully submitted,

                                               HOWLEY LAW PLLC

                                               /s/ Eric Terry
                                               Eric Terry
                                               State Bar No. 00794729
                                               HOWLEY LAW PLLC
                                               TC Energy Center
                                               700 Louisiana Street Suite 4545
                                               Houston, Texas 77002
                                               Phone: 713-333-9125
                                               Email: tom@howley-law.com
                                               Email: eric@howley-law.com

                                               Proposed Trustee Counsel




                                 CERTIFICATE OF SERVICE

        I certify that on June [xx], 2025, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas and via first-class mail to all parties on the attached service lists.

                                                /s/ Eric Terry
                                               Eric Terry




                                                  3
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  Fill in this information to identify the case:

  Debtor 1              __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          __________District    __________
                                                     Districtofof __________

  Case number            ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     04/25

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                       No
   someone else?                       Yes. From whom? ______________________________________________________________________________________________________

3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street

                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone    ________________________                                   Contact phone   ________________________

                                      Contact email     ________________________                                  Contact email   ________________________



                                      Uniform claim identifier (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend               No
   one already filed?
                                       Yes. Claim number on court claims registry (if known) ________                                  Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone               No
   else has filed a proof              Yes. Who made the earlier filing?              _____________________________
   of claim for this claim?




  Official Form 410                                                                Proof of Claim                                                          page 1
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                             No
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                            Other. Describe:             _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                            Fixed
                                            Variable


10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                 Up to $3,800* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                           Wages, salaries, or commissions (up to $17,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                           Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                           Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $____________________

                                           Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                     $____________________

                                          * Amounts are subject to adjustment on 4/01/28 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(3) authorizes courts
                                         I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and       I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                  Executed on date         _________________
                                                           MM / DD     /   YYYY




                                  8________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________




           Print                            Save As...                     Add Attachment                                                                 Reset
 Official Form 410                                                           Proof of Claim                                                                page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/24


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                      must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the            number, individual’s tax identification number, or
   date the case was filed.                                           financial account number, and only the year of any
                                                                      person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,                   full name and address of the child’s parent or
   then state the identity of the last party who owned the            guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred           Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                      Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
                                                                   To receive confirmation that the claim has been filed, either
   definition of redaction on the next page.)
                                                                   enclose a stamped self-addressed envelope and a copy of this
   Also attach redacted copies of any documents that show          form or go to the court’s PACER system
   perfection of any security interest or any assignments or       (www.pacer.psc.uscourts.gov) to view the filed form.
   transfers of the debt. In addition to the documents, a
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Understand the terms used in this form
                                                                   Administrative expense: Generally, an expense that arises
 Do not attach original documents because
   attachments may be destroyed after scanning.
                                                                   after a bankruptcy case is filed in connection with operating,
                                                                   liquidating, or distributing the bankruptcy estate.
                                                                   11 U.S.C. § 503.
 If the claim is based on delivering health care goods
   or services, do not disclose confidential health care
   information. Leave out or redact confidential                   Claim: A creditor’s right to receive payment for a debt that the
   information both in the claim and in the attached               debtor owed on the date the debtor filed for bankruptcy. 11
   documents.                                                      U.S.C. §101 (5). A claim may be secured or unsecured.
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Creditor: A person, corporation, or other entity to whom a          Secured claim under 11 U.S.C. §506(a): A claim backed by
debtor owes a debt that was incurred on or before the date the      a lien on particular property of the debtor. A claim is secured
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                   to the extent that a creditor has the right to be paid from the
                                                                    property before other creditors are paid. The amount of a
                                                                    secured claim usually cannot be more than the value of the
Debtor: A person, corporation, or other entity who is in
bankruptcy. Use the debtor’s name and case number as shown          particular property on which the creditor has a lien. Any
                                                                    amount owed to a creditor that is more than the value of the
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).
                                                                    property normally may be an unsecured claim. But exceptions
                                                                    exist; for example, see 11 U.S.C. § 1322(b) and the final
Evidence of perfection: Evidence of perfection of a security        sentence of 1325(a).
interest may include documents showing that a security
interest has been filed or recorded, such as a mortgage, lien,      Examples of liens on property include a mortgage on real
certificate of title, or financing statement.                       estate or a security interest in a car. A lien may be voluntarily
                                                                    granted by a debtor or may be obtained through a court
                                                                    proceeding. In some states, a court judgment may be a lien.
Information that is entitled to privacy: A Proof of Claim
form and any attached documents must show only the last 4
digits of any social security number, an individual’s tax           Setoff: Occurs when a creditor pays itself with money
identification number, or a financial account number, only the      belonging to the debtor that it is holding, or by canceling a
initials of a minor’s name, and only the year of any person’s       debt it owes to the debtor.
date of birth. If a claim is based on delivering health care
goods or services, limit the disclosure of the goods or services    Uniform claim identifier: An optional 24-character identifier
to avoid embarrassment or disclosure of confidential health         that some creditors use to facilitate payment.
care information. You may later be required to give more
information if the trustee or someone else in interest objects to
                                                                    Unsecured claim: A claim that does not meet the
the claim.
                                                                    requirements of a secured claim. A claim may be unsecured in
                                                                    part to the extent that the amount of the claim is more than the
Priority claim: A claim within a category of unsecured              value of the property on which a creditor has a lien.
claims that is entitled to priority under 11 U.S.C. §507(a).
These claims are paid from the available money or
property in a bankruptcy case before other unsecured                Offers to purchase a claim
claims are paid. Common priority unsecured claims
include alimony, child support, taxes, and certain unpaid           Certain entities purchase claims for an amount that is less than
wages.                                                              the face value of the claims. These entities may contact
                                                                    creditors offering to purchase their claims. Some written
                                                                    communications from these entities may easily be confused
Proof of claim: A form that shows the amount of debt the
                                                                    with official court documentation or communications from the
debtor owed to a creditor on the date of the bankruptcy filing.
                                                                    debtor. These entities do not represent the bankruptcy court,
The form must be filed in the district where the case is
                                                                    the bankruptcy trustee, or the debtor. A creditor has no
pending.
                                                                    obligation to sell its claim. However, if a creditor decides to
                                                                    sell its claim, any transfer of that claim is subject to
Redaction of information: Masking, editing out, or deleting         Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
certain information to protect privacy. Filers must redact or       Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
leave out information entitled to privacy on the Proof of           the bankruptcy court that apply.
Claim form and any attached documents.




Do not file these instructions with your form.
